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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:
                                                  CHAPTER 11
AREU STUDIOS, LLC,
                                                  CASE NO. 20-71228-PMB
         Debtor.

                        DISCLOSURE STATEMENT FOR
                         PLAN OF REORGANIZATION

                       Dated this 11th day of November, 2020
 ____________________________________________________________________________

                                      Filed by:

                                  Areu Studios, LLC

                                  Attorneys for Debtor
                                 Cameron M. McCord
                                 Jones & Walden, LLC
                               699 Piedmont Avenue, NE
                                Atlanta, Georgia 30308
                                    (404) 564-9300
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I.     Introduction and General Information

        This disclosure statement (“Disclosure Statement”) is submitted by Areu Studios, LLC
(“Debtor”) to provide information to parties in interest about the Chapter 11 Plan (the “Plan”)
filed by Debtor. This introductory section is qualified in its entirety by the detailed explanations
which follow and the provisions of the Plan.

       This Disclosure Statement sets forth certain information regarding Debtor’s prepetition
history and events that have occurred during Debtor’s Chapter 11 case. This Disclosure
Statement also describes the Plan, alternatives to the Plan, effects of confirmation of the Plan,
and the manner in which Distributions will be made under the Plan. In addition, this Disclosure
Statement discusses the confirmation process and voting procedures that holders of Claims in
Impaired Classes must follow for their votes to be counted.

         Parties voting on the Plan should read both the Plan and this Disclosure
Statement.

       A.      Definitions

        Unless otherwise defined, capitalized terms used in this Disclosure Statement have the
meanings ascribed to them in the Plan. In the event of an inconsistency between the Disclosure
Statement and the Plan, the terms of the Plan shall govern and such inconsistency shall be
resolved in favor of the Plan. The Filing Date, as defined in the Plan, shall mean September 6,
2019 and the Effective Date, as defined in the Plan, shall mean the date that is 60 days after the
entry of a Confirmation Order.

       B.      The Disclosure Statement

        The primary purpose of this Disclosure Statement is to provide parties entitled to vote on
the Plan with adequate information so that they can make a reasonably informed decision prior to
exercising their right to vote to accept or reject the Plan.

       The Bankruptcy Court’s approval of this Disclosure Statement constitutes neither a
guaranty of the accuracy or completeness of the information contained herein, nor an
endorsement of the Plan by the Bankruptcy Court.

       When and if confirmed by the Bankruptcy Court, the Plan will bind Debtor and all
holders of Claims against and Interests in Debtor, whether or not they are entitled to vote or did
vote on the Plan and whether or not they receive or retain any Distributions or property under the
Plan. Thus, you are encouraged to read this Disclosure Statement carefully. In particular,
holders of Impaired Claims who are entitled to vote on the Plan are encouraged to read this
Disclosure Statement, the Plan, and any exhibits to the Plan and Disclosure Statement, carefully
and in their entirety before voting to accept or reject the Plan. This Disclosure Statement
contains important information about the Plan, the method and manner of distributions under the



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Plan, considerations pertinent to acceptance or rejection of the Plan, and developments
concerning this case.

II.    Voting on the Plan and Confirmation Process

       A.      Voting Instructions

        Accompanying this Disclosure Statement are copies of the following documents: (1) the
Plan; and (2) a Ballot to be executed by holders of Claims to accept or reject the Plan. The
Ballot contains voting instructions. Please read the instructions carefully to ensure that your vote
will count.

       The Disclosure Statement, the form of Ballot, and the related materials delivered together
herewith (collectively, the “Solicitation Package”), are being furnished to Holders of Claims in
Classes 1 through 9 for the purpose of soliciting votes on the Plan.

       If you did not receive a Ballot in your Solicitation Package, and believe that you should
have received a Ballot, please contact, Jones & Walden, LLC, 699 Piedmont Avenue, NE,
Atlanta, Georgia, 30308, (404) 564-9300 (Attn: Cameron M. McCord, Esq.).

       In order for your Ballot to count, it must be received within the time indicated on
the Ballot and the Ballot must clearly indicate your Claim, the Class of your Claim and the
amount of your Claim.

       By enclosing a Ballot, Debtor is not admitting that you are entitled to vote on the
Plan, is not admitting that your Claim is allowed as set forth on the Ballot, and is not
waiving any right to object to your vote or your Claim.

       B.      Who May Vote

       Only a holder of an Allowed Claim classified in an Impaired Class is entitled to vote on
the Plan. As set forth in section 1124 of the Bankruptcy Code, a class is “Impaired” if legal,
equitable, or contractual rights attaching to the claims or equity interests of that class are
modified or altered.

       Any class that is “unimpaired” is not entitled to vote to accept or reject a plan of
reorganization and is conclusively presumed to have accepted the Plan.

        A Claim must be “allowed” for purposes of voting in order for such creditor to have the
right to vote. Generally, for voting purposes a Claim is deemed “allowed” absent an objection to
the Claim if (1) a proof of claim was timely filed, or (ii) if no proof of claim was filed, the Claim
is identified in a Debtor’s Schedules as other than “disputed,” “contingent,” or “unliquidated,”
and an amount of the Claim is specified in the Schedules, in which case the Claim will be
deemed allowed for the specified amount. In either case, when an objection to a Claim is filed,
the creditor holding the Claim cannot vote unless the Bankruptcy Court, after notice and hearing,
either overrules the objection, or allows the Claim for voting purposes.

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        Debtor in all events reserve the right through the claim reconciliation process to object to
or seek to disallow any claim for distribution purposes under the Plan.

       C.      Requirements of Confirmation

      The Bankruptcy Court can confirm the Plan only if all the requirements of § 1129 of the
Bankruptcy Code are met. Those requirements include the following:

            1. The Plan classifies Claims and Interests in a permissible manner;

            2. The contents of the Plan comply with the technical requirements of the
               Bankruptcy Code;

            3. The Plan has been proposed in good faith and not by any means forbidden by law;

            4. The disclosures concerning the Plan are adequate and include information
               concerning all payments made or promised in connection with the Plan, as well as
               the identity, affiliations, and compensation to be paid to all officers, directors, and
               other insiders; and

            5. The principal purpose of the Plan is not the avoidance of tax or the avoidance of
               the securities laws of the United States.

        In addition to the confirmation requirements described above, Debtor hopes that the Plan
will be approved by all Impaired Classes of Claims entitled to vote. If, however, the Plan has not
been approved by all Impaired Classes of Claims, the Court may nevertheless "cram down" the
Plan over the objections of a dissenting Class. The Plan may be "crammed down" so long as it
does not discriminate unfairly, is fair and equitable with respect to each dissenting Class of
Claims, and at least one Impaired Class has voted in favor of the Plan without regard to any
votes of insiders. If necessary, Debtor will seek to “cram down” the Plan.

       D.      Acceptance or Rejection of the Plan and Cram Down

        The Class containing your Claim will have accepted the Plan by the favorable vote of a
majority in number and two-thirds in amount of Allowed Claims actually voting. In the event
that any Impaired Class of Claims does not accept the Plan, the Bankruptcy Court may still
confirm the Plan if an Impaired Class accepts it and if, as to each Impaired Class that has not
accepted the Plan, the Plan "does not discriminate unfairly" and is "fair and equitable." If you
hold an Allowed Secured Claim, the Plan is fair and equitable if: (a) you retain your lien and
receive deferred cash payments totaling the allowed amount of your Allowed Secured Claim, (b)
the collateral is sold and your Lien attaches to the proceeds of the sale, or (c) you are otherwise
provided with the "indubitable equivalent" of your Allowed Secured Claim. If you hold a Claim
that is not an Allowed Secured Claim, and is not entitled to priority under § 507 of the
Bankruptcy Code, the Plan is fair and equitable if you receive property of a value equal to the



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allowed amount of your Claim or if no junior Class receives or retains on account of such junior
interest any property.

       E.     Confirmation Hearing

       The Bankruptcy Court has scheduled a hearing on confirmation of the Plan
("Confirmation Hearing") at the time indicated in the Order approving this Disclosure Statement
and providing Notice of Confirmation Hearing (the “Solicitation Order”). The Confirmation
Hearing may be adjourned from time to time without further notice except for announcement at
the Confirmation Hearing or notice to those parties present at the Confirmation Hearing.

       F.     Objections to Confirmation

       As will be set forth in the Solicitation Order, any objections to confirmation of the Plan
must be in writing, set forth the objector's standing to assert any such objection, and must be
filed with the Bankruptcy Court and served on counsel for Debtor. The Solicitation Order
contains all relevant procedures relating to the submission of objections to confirmation and
should be reviewed in its entirety by any party who has an objection to confirmation.

       G.     Whom to Contact for More Information

       If you have any questions about the procedure for voting on your Claim or the packet of
materials you received, please contact Cameron M. McCord at Jones & Walden, LLC at the
address indicated below or by telephone at (404) 564-9300.

        If you wish to obtain additional copies of the Plan, this Disclosure Statement, or the
exhibits to those documents, at your own expense, unless otherwise specifically required by
Bankruptcy Rule 3017(d), please contact Jones & Walden, LLC by one of the following
methods:

Via U.S. Mail:                   Via Facsimile:                   Via Email:
Jones & Walden, LLC              (404) 564-9301                   lbrown@joneswalden.com
699 Piedmont Avenue, NE          Attn: Lauren Brown
Atlanta, GA 30308
Attn: Lauren Brown

III.   Historical Background

       A.     Description of Debtor

       Debtor is a Georgia limited liability company which is managed by Ozzie Areu. Areu
Studios operates an approximately 29-acre studio lot, which consists of five sound stages, an 11-
home suburban backlot and four administration buildings, and is located in a federal opportunity
zone in Fulton County (the “Studio”).




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        Debtor was formed in 2018 for the purpose of operating the Studio. In December 2018,
Debtor’s subsidiary, Good Deed 317, LLC (“Good Deed”), acquired the real property upon
which the Studio is located from Tyler Perry Studios where Ozzie Areu was president for over
twelve years. Good Deed obtained funding to close on the real property from LV Atlanta, LLC
(“LV”) in December 2018. Debtor was in the process of obtaining refinancing at the beginning
of 2020. In early March 2020, the Studio was forced to shut down due to Covid-19 and did not
reopen until July 2020. The uncertainty of the film industry amidst Covid-19 also caused the
refinancing efforts to fall through. During this time, Debtor was unable to make rent payments to
Good Deed causing Good Deed to default on its payment to LV in September 2020. Good Deed
and LV entered into a forbearance agreement regarding the default through November 1, 2020.
The Debtor is the 100% member of Good Deed. LV holds a security interest in the membership
interest of Good Deed. Debtor filed the instant bankruptcy to reorganize its financial affairs
without the threat of collection or assignment of the membership interests of Good Deed.

       B.      Prepetition Assets and Liabilities

       Debtor’s had the following assets as of the Filing Date: (i) Bank of America Operating
Account $71,070.13; (ii) Bank of America Operating Account with $.017; and (iii) goodwill with
an unknown value.

       Debtor’s has liabilities consisting of (i) general unsecured claims totaling approximately
$1,743,936, (ii) cure claims in the amount of $387,777 and (iii) insider claims in the amount of
$2,379,729.00.

IV.         The Chapter 11 Case

       A.      Professionals

        Debtor filed an application (“Application”) requesting authorization to retain the law firm
of Jones & Walden, LLC (“J&W”) to serve as bankruptcy counsel in this Case. The application
is pending before the Court.

V.     Summary of the Plan

       The following summary of the Plan provides only a brief description of its
provisions. The summary is qualified in its entirety by the more detailed descriptions of
the Plan in the Disclosure Statement and by the terms of the Plan itself.

         The Plan provides for payments to creditors of Debtor. Debtor believes that any
alternative to confirmation of the Plan, such as liquidation, would result in significant delays,
litigation, job loss and/or impaired recoveries. For these reasons, Debtor urges you to return
your Ballots accepting Debtor’s Plan.

       The Plan contemplates the reorganization and ongoing business operations of Debtor and
the resolution of the outstanding Claims against and Interests in Debtor pursuant to sections



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1129(b) and 1123 of the Bankruptcy Code. The Plan classifies all Claims against and Interests in
Debtor into separate Classes.

VI.    Description of the Plan

       A.      Retention of Property by Debtor

         Upon confirmation, Debtor will retain all of the property of the estate free and clear of
liens, claims, and encumbrances not expressly retained by Creditors under the Plan. Debtor will
have the rights and powers to assert any and all Causes of Action (defined as all causes of action,
choses in action, claims, rights, suits, accounts or remedies belonging to or enforceable by
Debtor, including Avoidance Actions, whether or not matured or unmatured, liquidated or
unliquidated, contingent or noncontingent, known or unknown, or whether in law or in equity,
and whether or not specifically identified in Debtor’s schedules). The Disclosure Statement and
Plan are filed with a full reservation of rights.

       B.      Parties Responsible for Implementation of the Plan

         Upon confirmation, Debtor will be charged with administration of the Case. Debtor will
be authorized and empowered to take such actions as are required to effectuate the Plan. Debtor
will file all post-confirmation reports required by the United States Trustee’s office. Debtor will
also file the necessary final reports and will apply for a final decree as soon as practicable after
substantial consummation and the completion of the claims analysis and objection process.
Debtor shall be authorized to reopen this case after the entry of a Final Decree to enforce the
terms of the Plan including for the purpose of seeking to hold a party in contempt or to enforce
the confirmation or discharge injunction or otherwise afford relief to Debtor.

       C.      Liabilities of Debtor

       Debtor will not have any liabilities except those expressly assumed under the Plan.
Debtor will be responsible for all ongoing expenses and payments due and owing under the
confirmed Plan.

       D.      Funding of the Plan

       The source of funds for the payments pursuant to the Plan is the operations of the Studio.

       E.      Provisions Regarding Executory Contracts

       As of the Effective Date of the Plan, Debtor will assume all executory contracts regarding
insurance on the Property. Debtor will also assume (i) the Revenue Sharing Agreement and (ii)
Studio Sublease Lease Agreement by and between Debtor and Cinelease both dated April 3,
2019.

       Any unexpired leases or executory contracts which are not assumed under the Plan or are
the subject of a pending motion to assume as of the Effective Date shall be deemed rejected

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pursuant to Section 365 of the Bankruptcy Code on the Effective Date. Under the terms of the
Plan, a proof of claim for damages arising from such rejection must be filed in compliance with
the Bankruptcy Rules on or before sixty (60) days after the Confirmation Date. Any claims
which are not timely filed will be disallowed and discharged.

       F.      Avoidance Actions and Retained Rights

        The Plan provides that Debtor shall retain all rights of action against others. Debtor holds
claims against (i) The Areu Group in the amount of $121,000.00 and (ii) Areu Bros, LLC in the
amount of $669,000.00. Neither entity is operating and it is likely that recovery will not occur
on these receivables. The Plan also provides that Debtor shall retain “Avoidance Actions” under
Chapter 5 of the Bankruptcy Code. Debtor may also have Claims against others which are
retained. Notwithstanding the foregoing, Debtor is not aware of any preference claims or
fraudulent conveyance claims, including any listed in its schedules that in the exercise of its
reasonable business judgment are worth pursuing.

       G.      Treatment of Claims and Interests

        A brief summary of the Classes, the treatment of each Class, and the voting rights of each
Class is set forth below. A complete description of the treatment of each Class is set forth in
Article 4 of the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of
claim. Debtor reserves the right to object to any and all claims.

        Debtor reserves the right to pay any claim in full at any time in accordance with the terms
of the Plan (i.e. at the percentage distribution designated in the Plan and including any accrued
and unpaid interest, if any) without prepayment penalty.

       6.1     Class 1: Secured or Priority Claim of the Internal Revenue Service

        Debtor is not aware of any claim held by the Internal Revenue Service (“IRS”). However,
in the event the Court determines the IRS holds an Allowed Class 1 IRS Tax Claim for secured
or priority taxes, Debtor shall pay such Allowed Class 1 IRS Tax Claim in full in 36 equal
monthly payments commencing on the Effective Date and continuing by the 28th day of each
subsequent month (or the next Business Day if the 28th day is not a Business Day) with interest
accruing at the annual rate of 4% unless the IRS agrees to a lower interest rate or longer payment
term. Any third-party payments or payments in excess of the scheduled distribution pursuant to
Class 1 received by IRS after the Filing Date shall be applied to the principal tax obligation owed
by Debtor pursuant to Class 1. Notwithstanding anything to the contrary herein, Debtor shall
pay the full amount of the Allowed Class 1 IRS Tax Claim within 60 months of the Filing Date

        A failure by the Debtor to make a payment under Class 1 to the IRS pursuant to the terms
of the Plan shall be an event of default as to the IRS. In the event of a default under Class 1, the
IRS must send a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such
Default Notice must contain the reason for the default and if such default is monetary, the

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amount of the default and amount necessary to cure the default and the address for payment,
which will accept overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed
receipt by Debtor of the required Default Notice. In the event of an uncured default in payments
under Class 1 to the IRS and following proper Default Notice procedures and opportunity to cure
pursuant to Article 2.3 of the Plan, the IRS may (a) enforce the entire amount of its then
outstanding Allowed Class 1 IRS Priority Tax Claim; (b) exercise any and all rights and
remedies it may have under applicable non-bankruptcy law regarding the Allowed Class 1 IRS
Priority Tax Claim; and (c) seek such relief as may be appropriate in the Bankruptcy Court.

        The amount of any claim of the IRS that is not assessable prior to the Filing Date or
treated as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of the IRS, if
any, to payment in respect thereto shall (i) be determined in the manner in which the amount of
such Claim and the rights of the IRS would have been resolved or adjudicated if the Bankruptcy
Case had not been commenced, (ii) survive after the Effective Date as if the Bankruptcy Case
had not been commenced, and (iii) not be discharged pursuant to section 1141 of the Bankruptcy
Code. However, the rights and treatment of the IRS and obligations and liability of Debtor or its
property regarding any claim of the IRS against Debtor which was assessable prior to the Filing
Date shall be treated and fixed in accordance with the Plan, and any additional or other claims
assessable on or prior to the Filing Date or treated as arising before the Filing Date pursuant to
11 U.SC. §502(i), and not timely asserted by the IRS in accordance with the Bankruptcy Code
and the Plan and in all instances prior to entry of the Confirmation Order, shall be forever barred.
Debtor reserves the right to pay any tax claim in full at any time.

       The Claim of the Class 1 Creditor is Impaired by the Plan and the holder of the Class 1
Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.


       6.2     Class 2: Secured or Priority Tax Claim of Georgia Department of Revenue

        Debtor is not aware of any claim held by the Georgia Department of Revenue (“GDR”).
However, in the event the Court determines the GDR holds an Allowed Class 2 GDR Tax Claim
for secured or priority taxes, Debtor shall pay such Allowed Class 2 GDR Tax Claim in full in 36
equal monthly payments commencing on the Effective Date and continuing by the 28th day of
each subsequent month (or the next Business Day if the 28th day is not a Business Day) with
interest accruing at the annual rate of 6.5% unless the GDR agrees to a lower interest rate or
longer payment term. Any third-party payments or payments in excess of the scheduled
distribution pursuant to Class 2 received by GDR after the Filing Date shall be applied to the
principal tax obligation owed by Debtor pursuant to Class 2. Notwithstanding anything to the
contrary herein, Debtor shall pay the full amount of the Allowed Class 2 GDR Tax Claim within
60 months of the Filing Date.

       A failure by the Debtor to make a payment under Class 2 to the GDR pursuant to the
terms of the Plan shall be an event of default as to the GDR. In the event of a default under

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Class 2, the GDR must send a Default Notice to Debtor in accordance with Article 2.3 of the
Plan. Such Default Notice must contain the reason for the default and if such default is monetary,
the amount of the default and amount necessary to cure the default and the address for payment,
which will accept overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed
receipt by Debtor of the required Default Notice. In the event of an uncured default following
proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of the Plan, the
GDR may (a) enforce the entire amount of its then outstanding Allowed Class 2 GDR Priority
Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
bankruptcy law regarding the Allowed Class 2 GDR Priority Tax Claim; and (c) seek such relief
as may be appropriate in the Bankruptcy Court.

        The amount of any claim of GDR that is not assessable prior to the Filing Date or treated
as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of GDR, if any, to
payment in respect thereto shall (i) be determined in the manner in which the amount of such
Claim and the rights of GDR would have been resolved or adjudicated if the Bankruptcy Case
had not been commenced, (ii) survive after the Effective Date as if the Bankruptcy Case had not
been commenced, and (iii) not be discharged pursuant to section 1141 of the Bankruptcy Code.
However, the rights and treatment of GDR and obligations and liability of Debtor or its property
regarding any claim of GDR against Debtor which was assessable prior to the Filing Date shall
be treated and fixed in accordance with the Plan, and any additional or other claims assessable on
or prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC.
§502(i), and not timely asserted by GDR in accordance with the Bankruptcy Code and the Plan
and in all instances prior to entry of the Confirmation Order, shall be forever barred. Debtor
reserves the right to pay any tax claim in full at any time.

       The Claim of the Class 2 Creditor is Impaired by the Plan and the holder of the Class 2
Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.




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       6.3     Class 3: Cinelease, Inc.

        Upon the entry of the Confirmation Order, Debtor will assume the April 3, 2019 (i)
Revenue Sharing Agreement and (ii) Studio Sublease Agreement by and between Debtor and
Cinelease, Inc. (the “Cinelease Agreements”). Debtor shall pay the arrearage owed by Debtor, if
any, in 6 equal monthly payments plus interest at the rate of 4.25% per annum, with the first such
payment due on the 28th day of the 1st full month following the Effective Date and continuing by
the 28th day of each subsequent month, and a final payment for the balance of any paid in a
balloon payment on the 28th day of the 12th full month following the Effective Date.

       Class 3 is Impaired and the Holder of an Allowed Class 3 Claim is entitled to vote to
accept or reject the Plan. Nothing herein shall constitute an admission as to the nature, validity,
or amount of claim. Debtor reserves the right to object to any and all claims

       6.4     Class 4: Priority and Secured Tax Claims of Governmental Units Not
               Otherwise Classified in the Plan

        Class 4 shall consist of any Priority or Secured Claim of a governmental unit entitled to
priority under 11 U.S.C. §507(a)(8) or §502(i), which are not otherwise specifically classified in
the Plan (“Class 4 Governmental Unit Tax Claim”). Debtor is not aware of any Holders of Class
4 Governmental Unit Tax Claim not otherwise classified in the Plan. In the event there are
Allowed Holders of Class 4 Governmental Unit Tax Claims, Debtor shall pay such Allowed
Class 4 Government Unit Tax Claims at the rate of $100 per month commencing on the 28th day
of the first full month following the Effective Date and continuing by the 28th day of each
subsequent month (or the next Business Day if the 28th day is not a Business Day), with interest
accruing at the annual rate of 4% (or at the rate otherwise as required by the Bankruptcy Code),
with a final balloon payment on the 5th anniversary of the Filing Date (i.e. October 29, 2025)
unless such holder agrees to a longer payment term, which such agreement may be
communicated by continued acceptance of monthly payments after October 29, 2025. Any third-
party payments or payments in excess of the scheduled distribution pursuant to Class 4 received
by a holder shall be applied to the principal tax obligation owed by Debtor pursuant to Class 4.
Debtor’s Class 4 payments shall be applied (i) first to interest accruing under the Plan, (ii)
second to the principal balance and (iii) then to interest which accrued prior to the Effective
Date, if any. Debtor reserves the right to pay any Class 4 Governmental Unit Tax Claim in full
at any time.

       Debtor shall pay any claim of a Class 4 Claim Holder assessable, arising prior to the
Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) on the
terms herein, and holders of Class 4 Claims shall be permanently enjoined from seeking payment
in excess of the amounts provided for in the Plan for such claims.

       A failure by the Debtor to make a payment under Class 4 to a holder of a Class 4
Governmental Unit Tax Claim pursuant to the terms of the Plan shall be an event of default
under Class 4 as to such holder. In the event of a default under Class 4, the applicable holder
must send a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default

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Notice must contain the reason for the default and if such default is monetary, the amount of the
default and amount necessary to cure the default and the address for payment, which will accept
overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the
required Default Notice. In the event of an uncured default following proper Default Notice
procedures and opportunity to cure pursuant to Article 2.3 of the Plan, the Governmental Unit
may (a) enforce the entire amount of its then outstanding Allowed Class 4 Governmental Unit
Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
bankruptcy law regarding the Allowed Class 4 Governmental Unit Tax Claim; and (c) seek such
relief as may be appropriate in the Bankruptcy Court.

         The amount of any claim of a holder of Class 4 Governmental Unit Tax Claim that is not
assessable prior to the Filing Date or treated as arising before the Filing Date pursuant to 11
U.SC. §502(i), and the right of Governmental Unit, if any, to payment in respect thereto shall (i)
be determined in the manner in which the amount of such Claim and the rights of Governmental
Unit would have been resolved or adjudicated if the Bankruptcy Case had not been commenced,
(ii) survive after the Effective Date as if the Bankruptcy Case had not been commenced, and (iii)
not be discharged pursuant to section 1141 of the Bankruptcy Code. However, the rights and
treatment of Governmental Unit and obligations and liability of Debtor or its property regarding
any claim of Governmental Unit against Debtor which was assessable prior to the Filing Date
shall be treated and fixed in accordance with the Plan, and any additional or other claims
assessable on or prior to the Filing Date or treated as arising before the Filing Date pursuant to
11 U.SC. §502(i), and not timely asserted by Governmental Unit in accordance with the
Bankruptcy Code and the Plan and in all instances prior to entry of the Confirmation Order, shall
be forever barred. Debtor reserves the right to pay any tax claim in full at any time.

        The Holder of an Allowed Class 4 Governmental Unit Priority Tax Claim is impaired and
entitled to vote to accept or reject the Plan. Nothing contained herein shall prohibit Debtor from
objecting to the Class 4 Claims for any reason.

       6.5     Class 5: Secured Claim of LV Atlanta, LLC

       Class 5 consists of the first priority secured claim of LV Atlanta, LLC (“LV”) (“Class 5
Secured Claim”). LV holds a first priority lien on all of Debtor’s membership interests in and to
Good Deed 317, LLC as set forth in the Pledge and Security Agreement by and between Debtor
and LV Atlanta, LLC dated December 13, 2018 and as further set forth in that certain UCC
Financing Statement No. 0602018-10262 filed and recorded in the Fulton County, Georgia real
property records on December 14, 2018 (the “LV Collateral”). The Class 5 Secured Claim is
being paid in full with interest pursuant to the Plan of Reorganization filed in the Good Deed
317, LLC Bankruptcy Case No. 20-71227, pending in the United States Bankruptcy Court,
Northern District of Georgia (“Good Deed 317 Plan of Reorganization”).

        LV shall retain its lien and security interest in the LV Collateral to the same priority and
validity as existed on the Filing Date; however, LV shall release its lien on and security interest
in the LV Collateral for a payment of the then outstanding allowed Class 5 Secured Claim. Upon
request by Debtor, LV shall promptly provide a payoff letter including the then outstanding
balance of the Class 5 Secured Claim and an accounting including all credits and debits,

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including all payments received and their application.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

         The holder of the Class 5 Secured Claim is impaired and entitled to vote to accept or
reject the Plan.

        6.6    Class 6: General Unsecured Claims

        Class 6 shall consist of the general unsecured claims. On the 1st day of the 36th month
following the Effective Date, Debtor shall pay the General Unsecured Creditors in full plus
interest accruing at the annual rate of 4.25% from the Effective Date until the date of payment.
Debtor anticipates, but does not warrant, the following Holders of Class 7 General Unsecured
Claims and the following distributions:

                                                    Estimated Percentage
 Anticipated Holder                 Claim               Total Distribution
 Adam Keen                           122,500.00                      100%
 Clayton Robert Barker III            25,386.00                      100%
 Develop, LLC                         35,000.00                      100%
 Endavo Media &                                                      100%
 Communications                        65,912.00
 Eric Cape                            110,000.00                    100%
 Johnson Controls                      56,220.00                    100%
 Mary Propes                          350,000.00                    100%
 Mike Phelps                          110,000.00                    100%
 Miriam Miras                         290,000.00                    100%
 Palmer Productions                    50,000.00                    100%
 Rene Jongsman                        125,000.00                    100%
 Rinehart Security & Consulting       131,501.00                    100%
 Sophia Hellena                        52,083.00                    100%
 Spot On Content LLC                  187,500.00                    100%
 United Healthcare Insurance                                        100%
 Company                               26,545.67
 Total                              1,737,647.67                    100%

       Nothing herein shall constitute an admission as to the nature, validity, or amount of
claim. Debtor reserves the right to object to any and all claims.

        The holders of Class 6 Claims are impaired and entitled to vote to accept or reject the
Plan.




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       6.7    Class 7: Unsecured Convenience Class

       Class 7 shall consist of unsecured claims less than or equal to $10,000.00. Holders of
Allowed Class 7 Claims shall be paid in full plus interest accruing at the rate of 4.25% per
annum from the Effective Date on the first anniversary of the Effective Date. Debtor anticipates
payments to unsecured creditors based upon the following Holders of Class 7 Claims and
following distributions:

             Anticipated Holders         Estimated Total    Estimated
                                         Distribution       Percentage Total
                                                            Distribution
             Corporate Creations
             Network                     $1,049.00                           100%

             ECS, Inc.                   $4,899.00                           100%

             Green Fern Tree Service     $5,750.00                           100%
             Humana                      $6,540.00                           100%
             Sohonet                     $1,500.00                           100%
             Uline                       $1,727.00                           100%
             VSC Fire Security           $1,160.00                           100%
             Total                       $22,625.00                          100%

       The Claim of any Class 7 Creditor is Impaired by the Plan and the holder of the Class 7
Claim is entitled to vote to accept or reject the Plan.

        Nothing contained herein shall prohibit the Debtor from objecting to the Class 7 Claims
for any reason.

       6.8    Class 8: Interest Claims

        Class 8 consists of Interest Claims. The membership interests of the Debtor shall be
retained as follows:

                                          Membership Approximate
                                          Units      Percentage
                                                     Ownership
              Areu Family Ventures, LLC   51,000     51%
              Areu Bros, LLC              16,000     16%
              Behind the Curtain Funding, 5,000      5%
              LLC
              Windmill Investments, LLC   8,500      8.5%

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              Sophia-Hellena Productions, Inc.    1,000          1%
              Maxx Upside, LLC                    5,000          5%
              Spot on Content, LLC                6,250          6.25%
              Steven Blum                         3,000          3%
              Mary Propes                         3,750          3.75%
              Bear Dog Enterprises, LLC               500        .5%

       The holders of Class 8 Claims are unimpaired.

            6.9       Class 9: Unsecured Insider Claims

        Class 9 shall consist of the general unsecure claims of insiders. Debtor will not make any
distributions to Holders of general unsecured claims who are insiders. Debtor shows the
following Holders are insiders who hold general unsecured claims. Accordingly, the claims of
Holders of Class 9 Claims will be discharged without payment of any distribution.

 Holder                   Estimated Allowed Claim
 Good Deed 317, LLC                         $1,676,442.00
 Ozzie Areu                                   $703,287.00

            6.10      Sale Procedures

        After the Confirmation Date, Debtor is authorized to sell or refinance its assets free and
clear of liens, claims and encumbrances as set forth herein (the “Sale Procedures”). In the event
the applicable assets are subject to secured claims, Debtor is only authorized to sell or refinance
such property for any amount (a release amount) that is at least equal to the outstanding amount
of Allowed Secured Claims securing such property (the “Release Amount.” The Release
Amount, after payment of customary closing costs including broker fees and other items
customarily attributed to the seller (in a sale) and borrower (in a refinancing), shall be paid at
closing as follows: (i) first to cover any ad valorem property taxes associated with the particular
asset and (ii) then secured claims in order of priority. Any net proceeds from any such sale
available after closing shall be paid to fund Debtor’s other obligations as set forth in the Plan.

       The Bankruptcy Court shall retain jurisdiction to reopen the Bankruptcy Case, if
applicable, and resolve any disputes regarding the Sale Procedures herein.

   6. Administrative Expenses

     Treatment of administrative expense claims is set forth in Article 5 of the Plan and
summarized below.

        7.1. Summary.        Pursuant to section 1123(a)(1) of the Bankruptcy Code,
Administrative Expense Claims against Debtor are not classified for purposes of voting on, or
receiving Distributions under this Plan. Holders of such Claims are not entitled to vote on this

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Plan. All such Claims are instead treated separately in accordance with this Article V and in
accordance with the requirements set forth in section 1129(a)(9)(A) of the Bankruptcy Code.

        With respect to potential Administrative Expense Claims, Debtor, pursuant to Court
order, retained the law firm of Jones & Walden, LLC (“Firm”) to serve as bankruptcy counsel.
As set forth in the employment application and supporting documents, the Firm received a
prepetition retainer in the amount of $43,885.50. As of the date hereof, the fees and expenses
incurred by the Firm have not exceeded the retainer. Debtor shall pay any unpaid allowed
Administrative Expense Claim held by the Firm on the Effective Date unless otherwise agreed to
by the Firm. The Firm shall retain its security interest in the pre-petition retainer. The Firm
retains its right to assert an attorney lien on any property administered under the Plan or
otherwise recovered in this case. Debtor is paying post-petition bills and does not expect any
claims for unpaid post-petition goods and services other than possible professional fees. Debtor
will incur quarterly trustee fees which Debtor intends to pay when due.

       7.2.    Administrative Expense Claims.

       7.2.1. Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy Code,
each holder of an Allowed Administrative Expense Claim will be paid the full unpaid amount of
such Allowed Administrative Expense Claim in Cash on the latest of (1) the Effective Date, (ii)
as soon as practicable after the date on which such Claim becomes an Allowed Administrative
Expense Claim, (iii) upon such other terms as may be agreed upon by such holder and Debtor, or
(iv) as otherwise ordered by the Bankruptcy Court; provided, however, that Allowed
Administrative Expense Claims representing obligations incurred by Debtor in the ordinary
course of business after the Filing Date, or otherwise assumed by Debtor on the Effective Date
pursuant to this Plan, including any tax obligations arising after the Filing Date, will be paid or
performed by Debtor when due in accordance with the terms and conditions of the particular
agreements or non-bankruptcy law governing such obligations.

       7.2.2. Except as otherwise provided in this Plan, any Person holding an Administrative
Expense Claim, shall file a proof of such Administrative Expense Claim with the Bankruptcy
Court within thirty (30) days after the Confirmation Date. At the same time any Person files an
Administrative Expense Claim, such Person shall also serve a copy of the Administrative
Expense Claim upon counsel for Debtor. Any Person who fails to timely file and serve a proof
of such Administrative Expense Claim shall be forever barred from seeking payment of such
Administrative Expense Claims by Debtor or the Estate.

       7.2.3. Any Person seeking an award by the Bankruptcy Court of Professional
Compensation shall file a final application with the Bankruptcy Court for allowance of
Professional Compensation for services rendered and reimbursement of expenses incurred
through the Effective Date within thirty (30) days after the Confirmation Date or by such other
deadline as may be fixed by the Bankruptcy Court.

       The Plan provides that Debtor may pay professional fees incurred after Confirmation of
the Plan without Court approval. Debtor shall pay all pre-confirmation fees of professionals as
payment of same is approved by the Court.

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    7. Tax Consequences

        Tax consequences resulting from confirmation of the Plan can vary greatly among the
various Classes of Creditors and holders of Interests, or within each Class. Significant tax
consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
possibility that events subsequent to the date hereof could change the tax consequences, this
discussion is intended to be general in nature only. No specific tax consequences to any Creditor
or holder of an Interest are represented, implied, or warranted. Each holder of a Claim or Interest
should seek professional tax advice.

       The proponent assumes no responsibility for the tax effect that consummation of the
Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interest
are strongly urged to consult their own tax advisors covering the federal, state, local and
foreign tax consequences of the Plan to their individual situation.

    8. Liquidation Analysis

        Holders of claims would not receive any greater return in a liquidation of Debtor’s assets.
Moreover, in liquidation, the Chapter 7 trustee would incur costs associated with liquidation,
such as broker fees and professionals. The details of a hypothetical liquidation are as follows:
The Real Property would be marketed and sold by a bankruptcy trustee. It is likely that a sale of
the Real Property in bankruptcy would realize less than the fair market value of the Real
Property. Conversion and liquidation under Chapter 7 of the Bankruptcy Code would result in
the appointment of a Chapter 7 trustee and the liquidation of assets. As stated above, assets
disposed of by “liquidation” or “fire” sale generally generate significantly less proceeds than
assets that are marketed and sold as a going concern. Additionally, a Chapter 7 trustee would
incur trustee’s fees pursuant to § 326(a) or § 330 of the Bankruptcy Code. 1

        The proposed Plan contemplates payment on better terms than any recovery under
liquidation.




1
  11 USC § 326(a) states that a Chapter 7 trustee would incur trustee’s fees equal to 25% of the first
$5,000 of Liquidation Value of Assets; 10% of amount in excess of $5,000 but not in excess of $50,000
of Liquidation Value of Assets; 5% of any amount in excess of $50,000 but not in excess of $1,000,000;
3% of any amount in excess of $1,000,000 of the Liquidation Value of Asset, and commissions for
auctioneers for personal property generally is equivalent to ten (10%) percent of the gross sales price and
commissions for real property brokers is generally six percent (6%) of the gross sales price. In addition,
the attorney for the Chapter 7 trustee would incur attorney’s fees as would the current Chapter 11
attorneys.
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   9. Procedures for Treating and Resolving Disputed Claims

           a. Objection To Claims

       The Plan provides that Debtor shall be entitled to object to Claims, provided, however,
that Debtor shall not be entitled to object to Claims that have been Allowed by a Final Order
entered by the Bankruptcy Court prior to the Effective Date.

           b. No Distributions Pending Allowance

       Except as otherwise provided in the Plan, no Distributions will be made with respect to
any portion of a Claim where an objection to such Claim has been filed, until any such objection
to such Claim has been settled, withdrawn or overruled pursuant to a Final Order of the
Bankruptcy Court.

           c. Estimation of Claims

        Debtor may, at any time, request that the Bankruptcy Court estimate any contingent or
unliquidated Claim pursuant to the Bankruptcy Code regardless of whether Debtor has
previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time
during litigation concerning any objection to any Claim, including during the pendency of any
appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
contingent or unliquidated Claim, that estimated amount will constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
Court. If the estimated amount constitutes a maximum limitation on such Claim, Debtor may
elect to pursue any supplemental proceedings to object to any ultimate payment on such Claim.
All of the aforementioned Claims objection, estimation and resolution procedures are cumulative
and are not necessarily exclusive of one another.

           d. Resolution of Claims Objections

       On and after the Effective Date, Debtor shall have the authority to compromise, settle,
otherwise resolve, or withdraw any objections to Claims without approval of the Bankruptcy
Court.

   10. Conditions Precedent to the Effective Date

      The following are conditions precedent to the occurrence of the Effective Date, each of
which may be satisfied or waived in accordance with Article 11.2 of the Plan.

              (a)     The Confirmation Order shall not have been vacated, reversed or modified
                      and, as of the Effective Date, shall not be stayed.




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               (b)      All documents and agreements to be executed on the Effective Date or
                        otherwise necessary to implement the Plan shall be in form and substance
                        that is acceptable to Debtor, in its reasonable discretion.

               (c)      Debtor shall have received any authorization, consent, regulatory
                        approval, ruling, letter, opinion, or document that may be necessary to
                        implement this Plan and that is required by law, regulation, or order.

        Under the Plan, each of the conditions set forth above may be waived, in whole or in part,
by Debtor without any notice to any other parties in interest or the Bankruptcy Court and without
a hearing. The failure to satisfy or waive any condition to the Confirmation Date or the Effective
Date may be asserted by Debtor in its sole discretion regardless of the circumstances giving rise
to the failure of such condition to be satisfied (including any action or inaction by Debtor in its
sole discretion). The failure of Debtor to exercise any of the foregoing rights shall not be
deemed a waiver of any other rights, and each such right shall be deemed an ongoing right,
which may be asserted at any time.

   11. Certain Effects of Confirmation

           a. Vesting of Debtor’s Assets

        Except as otherwise explicitly provided in the Plan, upon the Court’s entry of the
Confirmation Order, all property comprising the Estate (including Retained Actions, but
excluding property that has been abandoned pursuant to an order of the Bankruptcy Court) shall
revest in Debtor free and clear of all Claims, Liens, charges, encumbrances, rights and Interests
of creditors and equity security holders, except as specifically provided in the Plan. As of the
Confirmation Date, Debtor may operate its business and use, acquire, and dispose of property
and settle and compromise Claims or Interests without supervision of the Bankruptcy Court, free
of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those restrictions
expressly imposed by the Plan and Confirmation Order.

           b. Discharge of Debtor

        Pursuant to section 1141(d) of the Bankruptcy Code, except as otherwise specifically
provided in the Plan or in the Confirmation Order, the Distributions and rights that are provided
in the Plan shall be in complete satisfaction, discharge, and release of all Claims and Causes of
Action against Debtor, whether known or unknown, including any and all liabilities of Debtor,
Liens on Debtor’s assets, obligations of Debtor, rights against Debtor, and Interests in Debtor or
its Estate that arose prior to the Effective Date regardless of whether a claimant accepted or
rejected the Plan.

           c. Setoffs

       Debtor may, but shall not be required to, set off against any Claim, and the payments or
other Distributions to be made pursuant to this Plan in respect of such Claim, claims of any
nature whatsoever that Debtor may have against such Holder; but neither the failure to do so nor


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the allowance of any Claim hereunder shall constitute a waiver or release by Debtor of any such
claim that Debtor may have against such Holder.

            d. Exculpation and Limitation of Liability

        Under the Plan, Debtor’s current and/or post-Filing Date and pre-Effective Date
members, officers, directors, employees, advisors, attorneys, representatives, financial advisors,
investment bankers, or agents and any of such parties’ successors and assigns, shall not have or
incur, and shall be released from, any claim, obligation, cause of action, or liability to one
another or to any Holder of any Claim or Interest, or any other party-in-interest, or any of their
respective agents, employees, representatives, financial advisors, attorneys, or Affiliates, or any
of their successors or assigns, for any act or omission in connection with, relating to, or arising
out of the Bankruptcy Case, the negotiation and filing of the Plan, the filing of the Bankruptcy
Case, the pursuit of confirmation of the Plan, the consummation of the Plan, or the
administration of the Plan, except for their willful misconduct, and in all respects shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities under the Plan. No Holder of any Claim or Interest, or other party in interest,
none of their respective agents, employees, representatives, financial advisors, or Affiliates, and
no successors or assigns of the foregoing, shall have any right of action against the parties listed
in this provision for any act or omission in connection with, relating to, or arising out of the
Bankruptcy Case, the pursuit of confirmation of the Plan, the consummation of the Plan, or the
administration of the Plan. Fees and expenses which Debtor owes to its Professionals are
excluded from this Exculpation.

       E.      Injunction.

        Upon entry of a Confirmation Order in this case, except as provided for in this Plan,
the Confirmation Order shall act as a permanent injunction against any Person: (a)
commencing or continuing any action, (b) employing any process, or (c) act to collect,
offset, or recover any Claim or Cause of Action against: (1) Debtor, or (2) against any
property of Debtor. Such injunction shall survive the closure of the Bankruptcy Case and
this Court shall retain jurisdiction to enforce such injunction.

       F.      Miscellaneous Plan Provisions

            i. Modification of Plan

       Debtor shall be allowed to modify the Plan pursuant to section 1127 of the Bankruptcy
Code to the extent applicable law permits. Subject to the limitations contained in the Plan,
pursuant to Article 13.1 of the Plan, Debtor may modify the Plan, before or after confirmation,
without notice or hearing, or after such notice and hearing as the Bankruptcy Court deems
appropriate, if the Bankruptcy Court finds that the Modification does not materially and
adversely affect the rights of any parties in interest which have not had notice and an opportunity
to be heard with regard thereto. In the event of any modification on or before confirmation, any
votes to accept or reject the Plan shall be deemed to be votes to accept or reject the Plan as
modified, unless the Bankruptcy Court finds that the modification materially and adversely

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affects the rights of parties in interest which have cast said votes. Debtor reserves the right in
accordance with section 1127 of the Bankruptcy Code to modify the Plan at any time before the
Confirmation Date.

           ii. Retention of Jurisdiction

                The Plan provides that subsequent to the Effective Date, the Bankruptcy Court
shall have or retain jurisdiction for the following purposes:

               (a)    To adjudicate objections concerning the allowance, priority or
                      classification of Claims and any subordination thereof, and to establish a
                      date or dates by which objections to Claims must be filed to the extent not
                      established in the Plan;
               (b)    To liquidate the amount of any disputed, contingent or unliquidated Claim,
                      to estimate the amount of any disputed, contingent or unliquidated claim,
                      to establish the amount of any reserve required to be withheld from any
                      distribution under the Plan on account of any disputed, contingent or
                      unliquidated claim;

               (c)    To resolve all matters related to the rejection, assumption and/or
                      assignment of any Executory Contract or Unexpired Lease of Debtor;

               (d)    To hear and rule upon all Retained Actions, Avoidance Actions and other
                      Causes of Action commenced and/or pursued by Debtor;

               (e)    To hear and rule upon all applications for Professional Compensation;

               (f)    To remedy any defect or omission or reconcile any inconsistency in the
                      Plan, as may be necessary to carry out the intent and purpose of the Plan;

               (g)    To construe or interpret any provisions in the Plan and to issue such orders
                      as may be necessary for the implementation, execution and consummation
                      of the Plan, to the extent authorized by the Bankruptcy Code;

               (h)    To adjudicate controversies arising out of the administration of the Estate
                      or the implementation of the Plan;

               (i)    To make such determinations and enter such orders as may be necessary to
                      effectuate all the terms and conditions of the Plan, including the
                      Distribution of funds from the Estate and the payment of claims;

               (j)    To determine any suit or proceeding brought by Debtor to recover
                      property under any provisions of the Bankruptcy Code;

               (k)    To hear and determine any tax disputes concerning Debtor and to
                      determine and declare any tax effects under the Plan;

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            (l)     To determine such other matters as may be provided for in the Plan or the
                    Confirmation Order or as may be authorized by or under the provisions of
                    the Bankruptcy Code;

            (m)     To determine any controversies, actions or disputes that may arise under
                    the provisions of the Plan, or the rights, duties or obligations of any Person
                    under the provisions of the Plan;

            (n)     To adjudicate any suit, action or proceeding seeking to enforce any
                    provision of, or based on any matter arising out of, or in connection with,
                    any agreement pursuant to which Debtor sold any of its assets during the
                    Bankruptcy Cases; and

            (o)     To enter a final decree.

            (p)     To enforce and interpret any order or injunctions entered in this
                    Bankruptcy Case.


        iii. Distributions

            (a)     Disbursing Agent. Unless otherwise provided for herein, all Distributions
                    under this Plan shall be made by Debtor or its agent.

            (b)     Distributions of Cash. Any Distribution of Cash made by Debtor pursuant
                    to this Plan shall, at Debtor’s option, be made by check drawn on a
                    domestic bank or by wire transfer from a domestic bank or in any other
                    form of cash or cash equivalent.

            (c)     No Interest on Claims or Interests. Unless otherwise specifically provided
                    for in this Plan, the Confirmation Order, or a post Confirmation agreement
                    in writing between the Debtor and a Holder, postpetition interest shall not
                    accrue or be paid on Claims, and no Holder shall be entitled to interest
                    accruing on or after the Filing Date on any Claim. Additionally, and
                    without limiting the foregoing, interest shall not accrue or be paid on any
                    Disputed Claim in respect of the period from the Effective Date to the date
                    a final determination is made when and if such Disputed Claim becomes
                    an Allowed Claim.

            (d)     Delivery of Distributions. The Distribution to a Holder of an Allowed
                    Claim shall be made by Debtor (a) at the address set forth on the proof of
                    claim filed by such Holder, (b) at the address set forth in any written
                    notices of address change delivered to Debtor after the date of any related
                    proof of claim, (c) at the addresses reflected in the Schedules if no proof
                    of claim has been filed and Debtor has not received a written notice of a

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                    change of address, or (d) if the Holder’s address is not listed in the
                    Schedules, at the last known address of such Holder according to the
                    Debtor’s books and records. If any Holder’s Distribution is returned as
                    undeliverable, no further Distributions to such Holder shall be made
                    unless and until Debtor is notified by such Holder in writing of such
                    Holder’s then-current address, at which time Debtor shall recommence
                    Distributions to such Holder without interest but further provided that (i)
                    any distributions not claimed within 6 months of return shall be
                    irrevocably retained by Debtor and (ii) such Holder shall waive its right to
                    such Distributions. All Distributions returned to Debtor and not claimed
                    within six (6) months of return shall be irrevocably retained by Debtor
                    notwithstanding any federal or state escheat laws to the contrary.

                    If any Distribution on an Unsecured Claim (“Unsecured Distribution”) is
                    tendered by Debtor to a Holder of an Unsecured Claim and returned,
                    refused or otherwise improperly returned or refused (“Unsecured
                    Distribution Refusal”), Debtor shall not be responsible for making any
                    further Unsecured Distribution on account of such Unsecured Claim.
                    Accordingly, in the event of an Unsecured Distribution Refusal, Debtor
                    shall be relieved of any obligation to make said payment or Distribution
                    and Debtor is relieved of any obligation to make further payments or
                    Distributions on such Unsecured Claim under the Plan.

                    If any Distribution on a Secured Claim or Priority Claim (“Secured or
                    Priority Distribution”) is tendered by Debtor to a Holder of a Secured
                    Claim or Priority Claim and returned, refused or otherwise improperly
                    returned or refused (“Secured or Priority Distribution Refusal”), the
                    Holder of such Secured Claim or Priority Claim, as applicable, shall be
                    deemed to have waived its right to such tendered payment or Distribution
                    and such tendered payment or Distribution shall be deemed satisfied. In
                    the event of a Secured or Priority Distribution Refusal, any obligation of
                    Debtor to make any additional or further payment on such Secured Claim
                    or Priority Claim shall be tolled until such time as: (i) notice is provided to
                    Debtor that the Holder of such Secured Claim or Priority Claim seeks to
                    receive payments from Debtor on the Secured Claim or Priority Claim or
                    otherwise seeks to enforce Debtor’s obligations under the Plan or
                    otherwise enforce the Secured Claim or Priority Claim and (ii) any dispute
                    regarding the Secured or Priority Distribution Refusal and its implications
                    is resolved by agreement of the parties or the Bankruptcy Court (the
                    “Tolling Period”). Only in the event of such notice to Debtor shall
                    Debtor’s obligations to perform as to the applicable Secured Claim or
                    Priority Claim resume. The Tolling Period shall: (i) extend the term of the
                    payments on such Secured Claim or Priority Claim and (ii) bar any interest
                    from accruing on the Secured Claim or Priority Claim until such time as
                    any dispute regarding the Secured or Priority Distribution Refusal shall be
                    resolved by a final order of the court. Notwithstanding anything in the

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                      Plan or otherwise to the contrary, no provision allowing the imposition of
                      late fees, default interest, late charges, damages, or costs and fees against
                      the Debtor or the Debtor’s property shall be applicable during the Tolling
                      Period or any period during which a dispute regarding a Tolling Period is
                      being resolved. For purposes of clarification, Debtor shall not be required
                      to make any lump sum cure of payments or Distributions which would
                      have otherwise come due during the Tolling Period or any period during
                      which a dispute regarding a Tolling Period is unresolved, and Debtor shall
                      recommence Distributions upon the resolution of such on the terms in the
                      Plan as tolled.

              (e)     Distributions to Holders as of the Record Date. All Distributions on
                      Allowed Claims shall be made to the Record Holders of such Claims. As
                      of the close of business on the Record Date, the Claims register
                      maintained by the Bankruptcy Court shall be closed, and there shall be no
                      further change in the Record Holder of any Claim. Debtor shall have no
                      obligation to recognize any transfer of any Claim occurring after the
                      Record Date. Debtor shall instead be entitled to recognize and deal for all
                      purposes under this Plan with the Record Holders as of the Record Date.

              (f)     Fractional Dollars. Any other provision of this Plan notwithstanding, the
                      Debtor shall not be required to make Distributions or payments of
                      fractions of dollars. Whenever any payment of a fraction of a dollar under
                      this Plan would otherwise be called for, at Debtor’s option the actual
                      payment shall reflect a rounding of such fraction to the nearest whole
                      dollar (up or down), with half dollars or less being rounded down.

              (g)     Withholding Taxes. Debtor shall comply with all withholding and
                      reporting requirements imposed by any federal, state, local, or foreign
                      taxing authority, and all Distributions under this Plan shall be subject to
                      any such withholding and reporting requirements.

   12. Confirmation and Consummation Procedure

           a. General Information

       All creditors whose Claims are Impaired by the Plan may cast their votes for or against
the Plan. As a condition to confirmation of the Plan, the Bankruptcy Code requires that one
Class of Impaired Claims votes to accept the Plan. Section 1126(c) of the Bankruptcy Code
defines acceptance of a plan by a Class of Impaired Claims as acceptance by holders of at least
two-thirds of the dollar amount of the class and by more than one-half in number of Claims.
Holders of Claims who fail to vote are not counted as either accepting or rejecting a plan.
Voting is accomplished by completing, dating, signing and filing the ballot form (the “Ballot”)
by the Voting Deadline. Ballots will be distributed to all creditors entitled to vote on the Plan
and is part of the Solicitation Package accompanying the Disclosure Statement. The Ballot



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indicates (i) where the Ballot is to be filed and (ii) the deadline by which creditors must file their
Ballots.

        In accordance with Article 2.3 of the Plan, unless otherwise specifically provided in a
class under the Plan, in the event of a default by Debtor in payments under the Plan or otherwise,
the Holder must send written notice (“Default Notice”) to Debtor at the addresses of record for
Debtor as reflected on the docket for this Bankruptcy Case, unless Debtor has provided the
Holder with a written notice of a change of address. Such Default Notice must contain the
reason for the default and if such default is monetary, the amount of the default and amount
necessary to cure the default, as well as notice that Debtor has ten (10) days (in the case of a
monetary default) and thirty (30) days (in the case of a non-monetary default) from receipt by
Debtor and Debtor’s counsel of the Default Notice (or the following business day if the 10th or
30th day does not fall on a business day) to cure such default (and the address for payment, which
will accept overnight deliveries, in the event of a monetary default). The Holder must send such
Default Notice to Debtor via certified mail or recognized overnight carrier with a copy via email
or fax and certified mail to Cameron M. McCord (Jones & Walden, LLC) at the address reflected
in the then current directory of the State of Bar of Georgia. Debtor shall have ten (10) days or
thirty (30) days (as applicable) from Debtor’s and Debtor’s counsel’s receipt of the Default
Notice to cure such default. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor
of the required Default Notice. Notwithstanding anything to the contrary in the Plan or
otherwise, a default under one Class of Claims or sub-class of Claims shall not constitute a
default under any other Class of Claims or sub-class of Claims. (For example, a default under
Class 4 shall not constitute a default under Class 1).

        In accordance with Article 2.4 of the Plan, all notices under the Plan shall be in writing.
Unless otherwise specifically provided here in, all notices shall be sent to Debtor via U.S.
Certified Mail Return Receipt or by recognized overnight carrier to the address of record for
Debtor in this Case, unless Debtor has provided such Holder with written notice of change of
address for Debtor, with a copy via email or fax and certified mail Cameron M. McCord at the
address reflected in the then current directory of the State Bar of Georgia. Receipt of notice by
Cameron M. McCord (Jones & Walden, LLC) shall not be deemed receipt by Debtor of the
required notice. Notice to creditors may be provided (a) at the address set forth on the proof of
claim filed by such Holder, (b) at the address set forth in any written notices of address change
delivered to Debtor after the date of any related proof of claim, (c) at the addresses reflected in
the Schedules if no proof of claim has been filed and Debtor has not received a written notice of
a change of address, or (d) if the Holder’s address is not listed in the Schedules, at the last known
address of such Holder according to the Debtor’s books and records. Notices shall be deemed
received: (i) on the day transmitted if sent via fax or email and (ii) on the day delivered if sent
via nationally recognized overnight delivery service or Certified Mail Return Receipt.

           b. Solicitation of Acceptances

       This Disclosure Statement has been approved by the Court as containing “adequate
information” to permit creditors and equity interest holders to make an informed decision
whether to accept or reject the Plan.



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           c. Acceptances Necessary to Confirm the Plan

        At the Confirmation Hearing, the Court shall determine, among other things, whether the
Plan has been accepted by Debtor’s creditors. Impaired classes will be deemed to accept the
Plan if at least two-thirds in amount and more than one-half in number of the Claims in each
class vote to accept the Plan. Furthermore, in such event, unless there is unanimous acceptance
of the Plan by the impaired classes, the Court must also determine that any non-accepting Class
will receive property with a value, as of the Effective Date of the Plan, that is not less than the
amount that such Class would receive or retain if Debtor were liquidated as of the Effective Date
of the Plan under Chapter 7 of the Bankruptcy Code.

           d. Confirmation of Plan Pursuant to Section 1129(b)

        The Bankruptcy Code provides that the Plan may be confirmed even if it is not accepted
by all Impaired classes. To confirm the Plan without the requisite number of acceptances of each
Impaired Class, the Court must find that at least one Impaired Class has accepted the Plan
without regard to the acceptances of insiders, and the Plan does not discriminate unfairly against,
and is otherwise fair and equitable, to any Impaired Class that does not accept the Plan.
Accordingly, if any Impaired Class does not vote to accept the Plan, Debtor will seek to confirm
the Plan under the “cramdown” provisions of section 1129(b) of the Bankruptcy Code.

           e. Considerations Relevant to Acceptance of the Plan

        Debtor’s recommendation that all Creditors should vote to accept the Plan is premised
upon Debtor’s view that the Plan is preferable to other alternatives for reorganization or
liquidation of Debtor’s estate. It appears unlikely to Debtor that an alternate plan of
reorganization or liquidation can be proposed that would provide for payments in an amount
equal or greater than the amounts proposed under the Plan. If the Plan is not accepted, it is likely
that the interests of all creditors will be further diminished.

       Disclaimer

        This Disclosure Statement contains summaries of certain provisions of the Plan, statutory
provisions, documents related to the Plan, events in Debtor’s Chapter 11 case, and financial
information. Although Debtor believes that the Plan and related document summaries are fair
and accurate, such summaries are qualified to the extent that they do not set forth the entire text
of such documents or statutory provisions. Factual information contained in this Disclosure
Statement has been provided by Debtor’s management, except where otherwise specifically
noted. Debtor is unable to warrant or represent that the information contained herein, including
the financial information, is without any inaccuracy or omission. The financial data set forth
herein, except as otherwise specifically noted, has not been subjected to an independent audit.

        Nothing contained herein shall (1) constitute an admission of any fact or liability by any
party, (2) be admissible in any nonbankruptcy proceeding involving Debtor or any other party;
provided, however, that in the event Debtor defaults under the Plan, the Disclosure Statement
may be admissible in a proceeding relating to such default for the purpose of establishing the

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existence of such default, or (3) be deemed conclusive advice on the tax or other legal effects of
Debtor’s Plan as to holders of Claims or Interests. You should consult your personal counsel or
tax advisor on any questions or concerns regarding tax or other legal consequences of the Plan.

        Except for historical information, all the statements, expectations, and assumptions,
including expectations and assumptions contained in this Disclosure Statement, involve a
number of risks and uncertainties. Although Debtor has used its best efforts to be accurate in
making these statements, it is possible that the assumptions made by Debtor may not materialize.
In addition, other important factors could affect the prospect of recovery to Creditors including,
but not limited to, the inherent risks of litigation and the amount of Allowed Claims.

       All Creditors and Interest Holders are advised and encouraged to read this Disclosure
Statement and the Plan in their entirety. Plan summaries and statements made in this Disclosure
Statement are qualified in their entirety by reference to the Plan, any exhibits, and the
Disclosure Statement as a whole.

       This Disclosure Statement has been prepared in accordance with § 1125 of the
Bankruptcy Code and Rule 3016(c) of the Federal Rules of Bankruptcy Procedure and not in
accordance with federal or state securities laws. This Disclosure Statement has neither been
approved nor disapproved by the Securities and Exchange Commission ("SEC"), nor has the
SEC passed on the accuracy or adequacy of the statements contained herein. This Disclosure
Statement was prepared to provide holders of Claims and Interests in Debtor with "adequate
information" (as defined in the Bankruptcy Code) so that they can make an informed judgment
about the Plan.

         As to contested matters, adversary proceedings, and other actions or threatened actions,
this Disclosure Statement shall not constitute nor be construed as an admission of any fact or
liability, stipulation, or waiver, but rather as a statement made in settlement negotiations.

        The information contained in this Disclosure Statement is included herein for the purpose
of soliciting acceptances of the Plan and may not be relied upon for any purpose other than to
make a judgment with respect to, and how to vote on, the Plan.




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       The representations in this Disclosure Statement are those of Debtor. No
representations concerning Debtor are authorized other than as set forth in this statement.
Any representation or inducement made to secure acceptance of this Plan which are other
than as contained in this document should not be relied upon by any Person. The
information contained herein has not been subject to a certified audit. Every effort,
however, has been made to provide adequate financial information in this Disclosure
Statement. The representations by Debtor are not warranted or represent to be without
any inaccuracy, although every effort has been made to be accurate. Neither the Plan nor
this Disclosure Statement has been designed to forecast consequences which follow from a
general rejection of this Plan, although an attempt is made to state the consequences of a
liquidation of Debtor.

      Respectfully submitted this 11th day of November, 2020

                                         Areu Studios, LLC


                                         /s/ Ozzie Areu      _____
                                         By: Ozzie Areu, Manager

                                         JONES & WALDEN, LLC

                                         /s/ Cameron M. McCord
                                         Cameron M. McCord
                                         Georgia Bar No. 143065
                                         699 Piedmont Avenue, NE
                                         Atlanta, Georgia 30308
                                         (404) 564-9300
                                         Proposed Attorneys for Debtor in Possession




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